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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:06CR23
                vs.                               )
                                                  )                  ORDER
JEREMY TORPY,                                     )
                                                  )
                         Defendant.               )

        Defendant Jeremy Torpy appeared before the court on Tuesday, February 10,2009 on a Petition
for Warrant or Summons for Offender Under Supervision [133]. The defendant was represented by
Assistant Federal Public Defender Jessica P. Douglas and the United States was represented by
Assistant U.S. Attorney Kimberly C. Bunjer. Through his counsel, the defendant waived his right to a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved
for detention. Through counsel, the defendant declined to present any evidence on the issue of detention
and otherwise submitted on the issue of detention. Since it is the defendant’s burden under 18 U.S.C.
§ 3143 to establish by clear and convincing evidence that he is neither a flight risk nor a danger to the
community, the court finds the defendant has failed to carry his burden and that he should be detained
pending a dispositional hearing before Chief Judge Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Chief Judge Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No.3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
March 6, 2009 at 10:30 a.m. Defendant must be present in person.
        2       The defendant, Jeremy Torpy, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 10th day of February, 2009

                                                          BY THE COURT:

                                                          s/ F. A. Gossett
                                                          United States Magistrate Judge
